           Case 5:24-cv-00374-OLG        Document 6       Filed 06/27/24     Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION



MARK ORTEGA, individually and on behalf of all
                                                                    Case No.: 5:24-CV-00374
others similarly situated,
                                                                          Civil Action
                        Plaintiff,

           v.
                                                                NOTICE OF APPEARANCE
JKB FINANCIAL, INC.

                        Defendant.

       NOTICE IS HEREBY GIVEN of the entry of the undersigned as counsel for Defendant,

JKB FINANCIAL, INC., in the above-entitled action. All further notices and copies of pleadings,

papers, and other relevant material to this action should be directed to and served upon:

                                     JULIE M. MOELLER
                                 Texas State Bar No.: 24073830
                                Email: julie.moeller@gmlaw.com
                                GREENSPOON MARDER LLP
                                  700 Milam Street, Suite 1300
                                       Houston, TX 77002
                                      Tel: (212) 524-4966
                                      Fax: (954) 771-9264


DATED: June 27, 2024.                        Respectfully submitted,
       .

                                      By:    /s/Julie Moeller
                                             JULIE M. MOELLER
                                             Texas State Bar No.: 24073830
                                             Email: julie.moeller@gmlaw.com
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                                             Attorneys for Defendant JKB FINANCIAL, INC.
         Case 5:24-cv-00374-OLG       Document 6       Filed 06/27/24    Page 2 of 2




                               CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on this 27th day of June, 2024, a copy of the foregoing was
filed with the Clerk of the Court using the CM/ECF system which will send notification of such
filing to all attorneys of record.


                                           /s/Julie Moeller
                                           JULIE M. MOELLER



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